924 F.2d 1052Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Aaron HOLSEY,v.Lieutenant ELLIS, D. Angle, Correctional Officer Co. II,Defendants-Appellees.Aaron HOLSEY, Plaintiff-Appellant,v.Lieutenant ELLIS, D. Angle, Correctional Officer Co. II,Defendants-Appellees.
    Nos. 90-6902, 90-6903.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 21, 1990.Decided Feb. 4, 1991.
    
      Appeals from the United States District Court for the District of Maryland, at Baltimore.  Frank A. Kaufman, Senior District Judge.  (CA-81-507-K)
      Aaron Holsey, appellant pro se.
      Richard Bruce Rosenblatt, Assistant Attorney General, Baltimore, Md., for appellees.
      D.Md.
      AFFIRMED.
      Before SPROUSE and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Aaron Holsey appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Holsey v. Ellis, CA-81-507-K (D.Md. Aug. 29, 1990).*   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    
      
        *
         The complaint about conditions on administrative segregation does not state a claim under the Constitution
      
    
    